
44 A.3d 970 (2012)
426 Md. 434
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND
v.
Christopher M. UHL.
Misc. Docket AG No. 59, Sept. Term, 2011.
Court of Appeals of Maryland.
May 18, 2012.

ORDER
Upon consideration of the petition for disciplinary or remedial action filed in the above entitled matter in accordance with Md. Rule 16-773 and the responses having been made to the show cause order, it is this 18th day of May, 2012
ORDERED, by the Court of Appeals of Maryland, a majority of the Court concurring, that Christopher M. Uhl is hereby disbarred, effective immediately, from the practice of law in the State of Maryland, and it is further
ORDERED, that the Clerk of this Court shall forthwith strike the name of Christopher M. Uhl from the register of attorneys, in this Court and shall certify that fact to the Trustees of the Client Protection Fund and the clerks of all judicial tribunals in the State in accordance with Rule 16-760(e).
